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                  EXHIBIT 1
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3ODLQWLII9LUJLQLD*LXIIUHDQGDVSXEOLVKHGLQWKH8QLWHG.LQJGRP,FRQWLQXHWREHUHWDLQHGLQ

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         ,FDXVHGWREHSUHSDUHGDVWDWHPHQWWRUHVSRQGWRWKHDUWLFOHVWKDWDSSHDUHGLQWKH

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RIFULPLQDODQGRWKHUPLVFRQGXFWE\0V0D[ZHOO,EHOLHYHGDQLPPHGLDWHUHVSRQVHZDV

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VKHLVVLQFHERWKVWDWHPHQWVFDQQRWDVDPDWWHURIIDFWEHWUXH:KHQVRPHRQHVD\VVKHGLGQRW

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SUHVVWRVWRSDQGWKLQNEHIRUHSXEOLVKLQJWRFHDVHDQGGHVLVWDQGWKDWLIWKH\FRQWLQXHGWKHQWKH\

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    LWDOLFVVXSSOLHG 7KHVWDWHPHQWZDVLQWHQGHGWREHDVLQJOHRQHWLPHRQO\FRPSUHKHQVLYH

UHVSRQVH²TXRWHGLQIXOOLILWZDVWREHXVHG²WRSODLQWLII¶V'HFHPEHUDOOHJDWLRQVWKDW

ZRXOGJLYHWKHPHGLD0V0D[ZHOO¶VUHVSRQVH7KHSXUSRVHRIWKHSUHIDWRU\VWDWHPHQWZDVWR

LQIRUPWKHPHGLDUHFLSLHQWVRIWKLVLQWHQW

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,WZDVLQWHQGHGWRDGGUHVV3ODLQWLII¶VEHKDYLRUDQGDOOHJDWLRQVDJDLQVW0V0D[ZHOORQDEURDG

VFDOHWKDWLVWRVD\3ODLQWLII¶VKLVWRU\RIPDNLQJIDOVHDOOHJDWLRQVDQGLQQXHQGRWRWKHPHGLD

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SRLQWVRXWWKDWKHUVWRU\³FKDQJHV´²LHLVHPEHOOLVKHG²RYHUWLPHLQFOXGLQJWKHDOOHJDWLRQV

³QRZ´WKDW3URIHVVRU'HUVKRZLW]DOOHJHGO\KDGVH[XDOUHODWLRQVZLWKKHU7KLVLVZK\,

GLVWLQJXLVKHGLQWKHVWDWHPHQWEHWZHHQ3ODLQWLII¶V³RULJLQDO´DOOHJDWLRQVDQGKHU³QHZ´MRLQGHU

PRWLRQDOOHJDWLRQVZKLFKGLIIHUHGVXEVWDQWLDOO\IURPWKHRULJLQDODOOHJDWLRQV$QGWKLVLVZK\,

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ILJXUHVDQGZRUOGOHDGHUVDQGQRZLWLVDOOHJHGE\>3ODLQWLII@WKDW$ODQ'HUVFKRZLW]>VLF@LV

LQYROYHGLQKDYLQJVH[XDOUHODWLRQVZLWKKHUZKLFKKHGHQLHV´ (PSKDVLVVXSSOLHG +DYLQJ

HVWDEOLVKHGWKHGUDPDWLFGLIIHUHQFHEHWZHHQ3ODLQWLII¶VWZRVHWVRIDOOHJDWLRQVZKLFKVXJJHVWHG

VKHZDVIDEULFDWLQJPRUHDQGPRUHVDODFLRXVDOOHJDWLRQVDVVKHKDGPRUHWLPHWRPDQXIDFWXUH

WKHP,DGGHGWKHWKLUGSDUDJUDSK³>0V*LXIIUH¶V@FODLPVDUHREYLRXVOLHVDQGVKRXOGEHWUHDWHG

DVVXFKDQGQRWSXEOLFLVHGDVQHZVDVWKH\DUHGHIDPDWRU\´ (PSKDVLVVXSSOLHG ,EHOLHYHG

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3ULQFH$QGUHZ7KH3ODLQWLIIFOHDUO\KDVEHHQVHHNLQJSXEOLFLW\IRUKHUVWRU\DQGLWLVFOHDUWRPH

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VWDWHPHQWWRVWDWHWKDW³WKHDOOHJDWLRQVPDGHE\>WKH3ODLQWLII@DJDLQVW>0V@0D[ZHOODUH

XQWUXH´)RUWKHUHDVRQVVWDWHGDERYHLWZDVDQGLVP\FRQVLGHUHGDQGILUPRSLQLRQWKDWLQIDFW

KHUDOOHJDWLRQVDUHXQWUXH6KHDOOHJHVLWZDVGHIDPDWRU\WRVWDWHLQWKHVDPHSDUDJUDSKWKDWWKH

³RULJLQDODOOHJDWLRQV´KDYHEHHQ³VKRZQWREHXQWUXH´)RUWKHUHDVRQVVWDWHGDERYHLWZDVDQGLV

P\FRQVLGHUHGDQGILUPRSLQLRQWKDWLQIDFWKHUDOOHJDWLRQVDUHXQWUXH)LQDOO\VKHDOOHJHVWKDWLW

ZDVGHIDPDWRU\LQWKHWKLUGSDUDJUDSKWRVWDWHWKDWKHUFODLPVDUH³REYLRXVOLHV´)RUWKHUHDVRQV

VWDWHGDERYHLWZDVDQGLVP\FRQVLGHUHGDQGILUPRSLQLRQWKDWLQIDFWKHUFODLPVDUHREYLRXV

OLHV

          %RWK0U*RZDQG,XQGHUVWRRGWKDWRQFHWKH-DQXDU\VWDWHPHQWZDVVHQWWRWKH

PHGLDUHSUHVHQWDWLYHVZHKDGQRDELOLW\WRFRQWUROZKHWKHURUKRZWKH\ZRXOGXVHWKHVWDWHPHQW

DQGZHPDGHQRHIIRUWWRFRQWUROZKHWKHURUKRZWKH\ZRXOGXVHWKHVWDWHPHQW

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        ,WLVP\XQGHUVWDQGLQJWKDWVRPHRIWKHPHGLDUHFLSLHQWVRIWKH-DQXDU\

VWDWHPHQWGLGQRWSXEOLVKDQ\SDUWRIWKHVWDWHPHQW,DPXQDZDUHRIDQ\PHGLDUHFLSLHQW

SXEOLVKLQJWKHVWDWHPHQWLQIXOO

        7KHLVVXDQFHRIWKHVWDWHPHQWIXOO\FRPSOLHGZLWKP\HWKLFDOREOLJDWLRQVDVDODZ\HU

,QGHHGLWZDVGXW\LQUHSUHVHQWLQJP\FOLHQW¶VLQWHUHVWVWRHQVXUHWKDWDGHQLDOZDVLPPHGLDWHO\

LVVXHG,ZRXOGKDYHEHHQUHPLVVLI,KDGVDWEDFNDQGQRWLVVXHGDGHQLDODQGWKHSUHVVKDG

SXEOLVKHGWKDW0V0D[ZHOOKDGQRWUHVSRQGHGWRHQTXLULHVDQGKDGQRWGHQLHGWKHQHZ

DOOHJDWLRQVWKHSXEOLFPLJKWKDYHWDNHQWKHVLOHQFHDVDQDGPLVVLRQWKHUHZDVVRPHWUXWKLQWKH

DOOHJDWLRQV

        7KHFRQWHQWRIWKHVWDWHPHQWZDVHQWLUHO\EDVHGRQLQIRUPDWLRQ,DFTXLUHGLQ

FRQQHFWLRQZLWKP\UROHDVFRXQVHOIRU0V0D[ZHOO

        $WWKHWLPH,GLUHFWHGWKHLVVXDQFHRIWKHVWDWHPHQW,ZDVFRQWHPSODWLQJOLWLJDWLRQ

DJDLQVWWKHSUHVVUHFLSLHQWVDVDQDGGLWLRQDOPHDQVWRPLWLJDWHDQGSUHYHQWKDUPWR0V0D[ZHOO

:KLOVWWKHOLPLWDWLRQSHULRGIRUDSXUHGHIDPDWLRQFODLPKDVQRZH[SLUHGFODLPVDUHVWLOOEHLQJ

FRQVLGHUHGIRUH[DPSOHIRUSXEOLVKLQJDGHOLEHUDWHIDOVHKRRGFRQVSLUDF\WRLQXUHDQGRWKHU

WRUWLRXVDFWV

        ,QDQ\VXFK8.GHIDPDWLRQRURWKHUUHODWHGDFWLRQ0V*LXIIUHZRXOGEHD

GHIHQGDQWRUDZLWQHVV

        ,GLUHFWHGWKDWWKHVWDWHPHQWLQGLFDWH0V0D[ZHOO³VWURQJO\GHQLH>G@WKHDOOHJDWLRQV

RIDQXQVDYRXU\QDWXUH´GHFODUHWKHDOOHJDWLRQVWREHIDOVHJLYHWKHSUHVVUHFLSLHQWVQRWLFHWKDW

WKHSXEOLFDWLRQVRIWKHDOOHJDWLRQV³DUHGHIDPDWRU\´DQGLQIRUPWKHPWKDW0V0D[ZHOOZDV

³UHVHUY>LQJ@KHUULJKWWRVHHNUHGUHVV´

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